

Matter of Dillon (2018 NY Slip Op 08617)





Matter of Dillon


2018 NY Slip Op 08617


Decided on December 13, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 13, 2018


[*1]In the Matter of MARK DOUGLAS DILLON, an Attorney. 
(Attorney Registration No. 2596070)

Calendar Date: December 10, 2018

Before: Garry, P.J., Devine, Clark, Aarons and Rumsey, JJ.


Mark Douglas Dillon, Phoenix, Arizona, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Mark Douglas Dillon was admitted to practice by this Court in 1994 and lists a business address in Phoenix, Arizona with the Office of Court Administration. Dillon now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises, by correspondence from its Chief Attorney, that it takes no position on Dillon's application.
Upon reading Dillon's affidavit sworn to September 10, 2018 and filed September 17, 2018, and upon reading the November 27, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Dillon is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Devine, Clark, Aarons and Rumsey, JJ., concur.
ORDERED that Mark Douglas Dillon's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Mark Douglas Dillon's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Mark Douglas Dillon is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Dillon is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Mark Douglas Dillon shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








